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                Exhibit B
         Case 4:20-cv-11272-IT Document 57-3 Filed 11/04/20 Page 2 of 60




DISTRICT OF COLUMBIA, ss:



                         DECLARATION OF KAREN K. JOHNSON



     I, Karen K. Johnson, declare and say as follows:



      1. I am an Assistant Legal Adviser in the Office of the Legal Adviser for the Department

of State, Washington, DC. This office has responsibility for extradition requests, and I am

charged with the extradition case of Peter Maxwell Taylor. I make the following statements

based upon my personal knowledge and upon infoimation made available to me in the

performance of my official duties.

      2. The relevant and applicable treaty provisions in full force and effect between the United

States and Japan are found in Treaty on Extradition between the United States of America and

Japan, signed on 3 March 1978 (the "Treaty"). A copy of the Treaty is attached to this

declaration.

       3. In accordance with the provisions of the Treaty, the Embassy of Japan has submitted

Diplomatic Note No. P60, dated 29 June 2020, formally requesting the extradition of Peter

Maxwell Taylor. A copy of the diplomatic note is attached to this declaration.

      4. In accordance with Article XIV(1) of the Treaty, the Government of the United States

of America provides legal representation in U.S. courts for the Government of Japan in its

extradition requests, and the Government of Japan provides legal representation in its courts for

extradition requests made by the United States.




                                      EX-Taylor, P.-00001
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                                                 -2-


      5. The offense for which extradition is sought is covered under Article II of the Treaty and

by the Schedule annexed to the Treaty.

      6. The documents in support of the extradition request submitted by the Embassy of Japan

were certified on 25 June 2020 by Karin M. Lang, Minister-Counselor for Consular Affairs and

Consul General at the United States Embassy in Tokyo, in accordance with 18 U.S.C. § 3190.

Ms. Lang, at the time of her certification, was the principal consular officer of the United States

in Japan.

      I declare under the penalty of perjury that the foregoing is true and correct to the best of

my knowledge.

      Executed on June   M    , 2020.




                                                              KAREN K JOHNSON
Attachments:
      1. Copy of Note
       2. Copy of Treaty




                                        EX-Taylor, P.-00002
           Case 4:20-cv-11272-IT Document 57-3 Filed 11/04/20 Page 4 of 60


   EMBASSY OF JAPAN
2520 MASSACHUSETTS AVENUE, N.W.
     WASHINGTON, D.C. 20008
         (202) 238-6700




        P60



                                              Note Verbale



                 The Embassy of Japan in the United States of America presents its compliments
        to the Department of State and has the honor to refer to the Note Verbale No. P 43, dated
        May 1, 2020 from the Embassy of Japan requesting the provisional detention of Peter
        Maxwell Taylor, and the Extradition Treaty between Japan and the United States of
        March 3, 1978, and to request the extradition of Peter Maxwell Taylor for the offense of
        Enabling the escape of criminals. The offense and the detail of the request are described
        in the documents attached hereto. The offense is covered by Article II, paragraph 1 of the
        Treaty and clause 38 of the Schedule annexed hereto.


               The Embassy of Japan in the United States of America avails itself of this
       opportunity to renew to the Department of State the assurances of its highest
       consideration.


                                                              Washington D.C., June 29, 2020




                                         EX-Taylor, P.-00003
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TREATIES AND OTHER, INTERNATIONAL ACTS SERIES 962,,




EXTRADITION




              Treaty, With Exchange of
              Notes, Between the
              UNITED STATES OF AMERICA
              and JAPAN




              Signed at Tokyo March 3, 1978




                                  EX-Taylor, P.-00004
           Case 4:20-cv-11272-IT Document 57-3 Filed 11/04/20 Page 6 of 60




                                                                                     Treaty, with exchange of nc
                                                                                     Ratification advised by the ,!
                                                                                         November 30, 1979;
                                                                                     Ratified by the President
                                                                                         December 13, 1979;
               NOTE BY THE DEPARTMENT OF STATE                                       Ratified by Japan February
                                                                                     Ratifications exchanged at]
              Pursuant to Public Law 89-497, approved
                                                                                     Proclaimed by the Preside
           July 8, 1966 (80 Stat. 271; 1 U.S.C. 113)—
                                                                                         March 4, 1980;
             ‘‘. . . the Treaties and Other International Acts                       Entered into force March 26
           Series issued under the authority of the Secretary
                                                                 of
           State shall be competent evidence . . . of the treaties,
           international agreements other than treaties, and proc-
          lamations by the President of such treaties and inter-
          national agreements other than treaties, as the case                               BY THE PRESIDENT OF I
          may be, therein contained, in all the courts of law
          and equity and of maritime jurisdiction, and in all the
          tribunals and public offices of the United States, and
          of the several States, without any further proof
                                                                                                            APR(
                                                                or
          authentication thereof."
                                                                                        CONSIDERING THAT: •
                                                                                        The Treaty on Extradition
                                                                                    'and Japan, together with a r(
                                                                                     Tokyo on March 3, 1978, the
                                                                                     nese languages, is hereto arm(
                                                                                       The Senate of the United
                                                                                     November 30, 1979, two-thir
                                                                                     therein, gave its advice and
                                                                                     together with a related excha
                                                                                       The Treaty, together with r
                                                                                     by the President of the -Unit'
                                                                                    1979, in pursuance of the adv
                                                                                    duly ratified on the part of Jo
                                                                                       It is provided in Article X1
                                                                                    enter into force on the thirtiet
For sale by the Superintendent of Documents, U.S. Government
                                                                 Printing Office,   the instruments of ratificatioi
    Washington, D.C. 20402. Subscription Price: S110; S27.50 additional                The instruments of ratifica
        for foreign mailing. Single copies vary in price. This issue 53.            Washington on February 25
                                                                                    together with the exchange of
                                                                                    1980;
                                                                                          62-682 0-80
                                                  EX-Taylor, P.-00005
                 Case 4:20-cv-11272-IT Document 57-3 Filed 11/04/20 Page 7 of 60




                               JAPAN
                            Extradition

Treaty, with exchange of notes, signed at Tokyo March 3, 1978;
Ratification advised by the Senate of the United States of America
    November 30, 1979;
Ratified by the President of the United States of America
    December 13, 1979;
Ratified by Japan February 19, 1980;
Ratifications exchanged at Washington February 25, 1980;
Proclaimed by the President of the United States of America
    March 4, 1980;
Entered into force March 26, 1980.




        BY THE PRESIDENT OF THE UNITED 6-STATES OF AMERICA

                      A PROCLAMATION

   CONSIDERING THAT:
  The Treaty on Extradition between the United States of America
and Japan, together with a related exchange of notes, was signed at
Tokyo on March 3, 1978, the text of which, in the English and Japa-
nese languages, is hereto annexed;
  The Snate . of the United States of America by its resolution of
November 30, 1979, two-thirds of the Senators present concurring
therein, gave its advice and consent to ratification of the Treaty,
together with a related exchange of notes;
  The Treaty, together with a related exchange of notes, was ratified
by the President of the United States of America on December 13,
1979, in pursuance of the advice and consent of the Senate, and was
duly ratified on the part of Japan;
  It is provided in Article XVI of the Treaty that the Treaty shall
enter into force on the thirtieth day after the date of the exchange of
the instruments of ratification;
  The instruments of ratification of the Treaty were exchanged at
Washington on February 25, 1980; and accordingly the Treaty,
together with the exchange of notes, will enter into force on March 26,
1980;
      62-682 0-80                  (1)                        TIAS 9625


                                              EX-Taylor, P.-00006
            Case 4:20-cv-11272-IT Document 57-3 Filed 11/04/20 Page 8 of 60




                                                                                  TREATY ON EXTRA
   Now, THEREFORE, I, Jimmy Carter, President of the United States of         THE UNITED STATES -0
America, proclaim and make public the Treaty, together with d. related
exchange of notes, to the end that they shall be observed and fulfilled
with good faith on and after March 26, 1980, by the United States
of America and by the citizens of the United States of America and           The United States of
all other persons subject to the jurisdiction thereof.
  IN TESTIMONY WHEREOF, I have signed this proclamation and caused           Desiring to make mor
the Seal of the United States of America to be affixed.                   ation of the two countr
                                                                          of crime,
   DONE at the city of Washington this fourth day of March in the
           year of our Lord one thousand nine hundred eighty and of          Have agreed as folio,
           the Independence of the United States of America the two
  [SEAL] hundred fourth.                                                                     ARTIC:

                                                     JIMMY CARTER            Each -Contracting Par-
                                                                          tradite to the other Pa]
By the President:                                                         the provisions of this
    CYRUS VANCE                                                           in its territory and sol
        Secretary of State                                                for prosecution, for tr:
                                                                          punishment for any offel
                                                                          graph 1 of Article II.
                                                                          committed outside the tt
                                                                          questing Party, the con(
                                                                          paragraph 1 of Article 1
                                                                          be applied.

                                                                                           ARTICLI
                                                                          1. Extradition shall be
                                                                          with the provisions of
                                                                          offense listed in the Sc
                                                                          Treaty, which forms an
                                                                          Treaty, when such an off
                                                                          the laws of both Contrac
                                                                          by life imprisonment,
                                                                                                or
                                                                          liberty for a period of
                                                                          or for any other
                                                                                           offense
                                                                          is punishable by the
                                                                                               fed




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                                        EX-Taylor, P.-00007
              Case 4:20-cv-11272-IT Document 57-3 Filed 11/04/20 Page 9 of 60




                             3

        TREATY ON EXTRADITION BETWEEN
    THE UNITED STATES OF AMERICA AND JAPAN



   The United States of America and Japan,
   Desiring to make more effective the cooper-
ation of the two- countries for the repression
of crime,
   Have agreed as follows:

                  ARTICLE I
   Each Contracting Party undertakes to ex-
tradite to the other Party, in accordance with
the provisions of this Treaty, any person found
in its territory and sought by the other Party
for prosecution, for trial, or to execute
punishment for any offense specified in para-
graph 1 of Article II. When the offense was
committed outside the territory of the re-
questing Party, the conditions specified in
paragraph 1 of Article VI, inter alia, shall
be applied.

                 ARTICLE II
1. Extradition shall be granted in accordance
with the provisions of this Treaty for any
offense listed in the Schedule annexed to
                                            this
Treaty, which forms an integral part of this
Treaty, when such an offense is punishable
                                             by
the laws of both
                 Contracting Parties by death,
by life imprisonment,
                      or by
liberty for a period of more deprivation of
or for any other              than one year;
is punishable by offense when such an offense
                 the federal laws of the United




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                          4
                                   death,
States and by the laws of Japan by
                            deprivation of
by life imprisonment, or by
                                      year.
liberty for a period of more than one
    Extradition shall be granted for any offense
                                               is
 of which one of the above-mentioned offenses
 a substantial element, even if, for purposes
                                          United
-of granting federal jurisdiction to the
 States ,Government, interstate transporting, or
 the use of the mails or other interstate facili-
 ties isalSo an element of the specific offense.
 2. In the case in which the person sought has
 been sentenced by a court of the requesting
 Party for any offense to which paragraph 1
 applies, extradition shall:be granted only if
 the person has been sentenced to death or if
 the sentence remaining to be served is at least
 four months.
                   ARTICLE III

   Extradition shall be granted only if there
is sufficient evidence to prove either that
there is probable cause to suspect, according
                                         the
to the laws of the requested Party, that
person sought has committed the offense for
which extradition is requested or that the
person sought is the person convicted by a
court of the requesting Party.
                   ARTICLE IV
                                           this
 1. Extradition shall not be granted under
 Treaty in any of the following circumstances:

    (1) When the offense for which extradition
                                        when
 is requested is a political offense or




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                Case 4:20-cv-11272-IT Document 57-3 Filed 11/04/20 Page 11 of 60




                                 5
11111111///////
      it appears that the request for extradition
     is made with a view to prosecuting, trying or
     punishing the person sought for a political
     offense. If any question arises as to the
     application of this provision, the decision
     of the requested Party shall prevail.
        (2) When the person sought has been prose-
     cuted or has been tried and convicted or ac-
     quitted by the requested Party for the offense
     for which extradition is requested.
        (3)In the case of a request for extradition
     emanating from Japan, when the prosecution of
     the offense'fOr.which extradition is requested
     would be barred by lapse of time, under the
     laws of the United States.
                                             extradition
        (4) In the case of a request for
     emanating  from  the  United  States, when the
     imposition or the execution of punishment for
     the offense for which extradition is requested
     would be barred by reasons prescribed under
     the laws of Japan, including lapse of time;
             (a)if Japan were to have jurisdiction
                  over the offense, or
             (b)if Japan in fact has such juris-
                  diction and the trial were to be
                  held in its court.
                                    refuse extradition
      2. The requested Party may
      when the person sought    has been tried and
      acquitted, or  has  undergone  the execution of
      punishment in a third State    for the offense
      for which  extradition   is requested.




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                            6
                                 been prosecuted
3. When the person sought has          of punish-
or has not undergone  the  execution
                       of  the  requested  Party
ment in the territory                  which ex-
       offense  other than  that  for
for an                                    Party
tradition is requested, the requested conclusion
          his  surrender  until  the
may defer
                                        of any
of the trial and the full execution
           he  may be Or  may  have  been imposed.
punishment
                    ARTICLE V
                                     bound to
   The requested Party shall not be
                             but it  shall have
extradite its own nationals,
             extradite them in its  discretion.
the power to
•                   ARTICLE VI
                                  extradition is
1. When the offense for which              the terri-
requested  has been committed    outside
                         Party,   the  requested
tory of the requesting                     laws of
Party shall grant extradition if the
                         the  punishment    of such
that Party provide for
            committed  outside   its  territory,
an offense                                 by a
or if the offense has been committed
national  of the requesting   Party.
                               Treaty, the terri-
2. For the purposes of this
tory of a  Contracting  Party  means all areas
                                        the sover-
of land, water and airspace under             Party,
           authority  of that   Contracting
eignty or                                that
                       registered    in
including any vessel                      registered
 Contracting Party, and any aircraftthat the
                             provided
in that Contracting Party           purposes of
 aircraft is in flight. For the
                               shall   be considered
 this provision an aircraft




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to be in flight at any time from the moment
when all its external doors are closed follow-
ing embarkation until the moment when any such
door is opened for disembarkation.
                 ARTICLE VII

1. The requesting Party shall not, except in
any of- the following circumstances, detain,
prosecute, try nor punish a person surrendered
under this. Treaty for an offense other than
that for Which:extradition has been granted,
nor extradite him to a third State, provided
that these stipulations shall not apply to
offenses committed after the extradition:
   (1)When he has left the territory of the
requesting Party After his extradition and
has voluntarily returned to it.
   (2)When he has not left the territory of
the requesting Party within forty-five days
from the day when he has been set free to do
so.
   (3)When the requested Party has consented
to his detention, prosecution, trial or punish-
ment for an offense other than that for which
extradition has been granted or to his ex-
tradition to a third State.
2. The requesting Party may detain, prosecute,
try or punish the person surrendered under
this Treaty for any offense for which ex-
tradition is to be granted in accordance with
paragraph 1 of Article II, in so far as Such




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                         upon the basic facts
measures are instituted
                      offense for which ex-
                  the
which constitute    granted.
tradition .has been
                  ARTICLE VIII

                     extradition shall be made
1. The request for        channel.
through the diplomatic
                     extradition shall be ac-
2. The request for
companied by::
                          describe the identity
   (a)Documents which
        of the person sought;
                                            case;
                     of the facts of the
   (b) A statement
                           laws describing the .
   (c)The texts of the            the designation
        essential elements and       extradition
                         for  which
        of the offense
        is requested;
                                              the
                       the laws describing
    (d) The texts of     the  offense;  and
         punishment for
                                              the
                       the laws describing
    (e)The texts of          prosecution  or  the
         time limit on the          for the  offense.
         execution of punishment
                       for extradition relates
 3. When the request
                       not yet been convicted,
 to a person who has        by:
 it shall be accompanied
                         warrant of arrest issued
    (a) A copy of the           judicial officer
          by a judge or other
                              Party;
          of the requesting
                                               sought
                   proving that the person of
     (b) Evidence            whom the  warrant
          is the person to
          arrest refers; and




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                   Case 4:20-cv-11272-IT Document 57-3 Filed 11/04/20 Page 15 of 60




                             would provide probable
   (c) Such evidence as
        cause to   suspect,    according to the laws
                                             the person
        of the requested Party, that              for
        sought has committed       the  offense
        which  extradition     is  requested.
                             extradition relates
4. When the request for
                            it  shall be accompanied
to a convicted person,
by:
                                      of conviction
   (a) A copy of the judgment             requesting
        imposed   by a court    of   the
        Party;
                              that the person sOught
   .(b) Evidence proving
        is the   person  to   whom the conviction
        refers; and
                                          of arrest,
    (c) (i) A copy of the warrant
             if the convicted       person   was not
             sentenced;    or
                                            imposed and
       (ii) A copy of the sentence what extent
             a statement     showing    to
                                                carried
             the sentence has not been
                             convicted     person  was
             out, if the
             sentenced.
                       extradition shall be ac-
 5. The request for                          as may be
 companied by all other information              Party.
               the  laws  of   the  requested
 required by
                                   submitted by the
 6..All the documents to be             with the pro-
 requesting Party in     accordance
              this  Treaty   shall    be duly certified
 visions of                             requested   Party,
 as required by the laws       of  the
                                               translation
 and accompanied by a duly certified       Party.
 in the language of the requested




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                                 of the requested
7. If the executive authority
      considers  that  the  information furnished
Party
                             for extradition of a,
in support of the request          to fulfill the
person sought is not sufficient       authority
requirements of this   Treaty,  that
      so notify  the  requesting  Party, in order
shall
                            Party to submit ad-
to enable the requesting
ditional information   before  that authority
determines whether   to  submit the request to
           the  requested   Party.   That authority
a court of                      submission  of such
may fix a time limit    for the
information.
                   ARTICLE IX
                             requested Party may
1. In case of urgency the
provisionally detain the    person  to be sought
                     Party   submits  an appli-
when the requesting                           the
                                     through
cation for provisional detention requested
diplomatic channel,  notifying    the
                                   has been issued
Party that a warrant of arrest            for which
                        for  an  offense
or a sentence imposed               accordance  with
extradition is to be granted in             the
                         II  and  assuring
paragraph 1 of Article                  extradition
requested Party that a request for provisional
                    application    for
will be made. The
                                 identity of the
 detention shall describe the          of the case,
                      and  the  facts
 person to be sought               information  as
 and shall contain such further         requested
                          laws  of the
 may be required by the
 Party.
                               fails to present
 2. If the requesting Party
                 extradition    within forty-five
 the request for                       detention,
 days from the date  of  provisional




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        r-
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                    shall be set at liberty,
the person detained            shall not
provided that this stipulation   instituting
            requested Party from
prevent the
  proceeding with a view to extraditing the
a                              extradition is
person sought if a request for
subsequently received.
                     ARTICLE X
                                         or
   When a person sought advises a court
                authorities of the requested
other competent
                                   internal
Party that he waives his rights to
           required for his extradition,  that
procedures
                                         to
Party shall take all necessary measures
                                        per-
expedite the extradition to the extent
mitted under its laws.
                     ARTICLE XI
                                        requests
   The requested Party, upon receiving
               Contracting Party and  from a
from the other
                                           of
third State or States for the extradition
                either for the same  offense
the same person
                                            to
or for different offenses, shall determine
                                        extra-
which of the requesting States it will
dite that person.
                    ARTICLE XII
                                       communi-
1. The requested Party shall promptly     diplo-
cate to the requesting Party through  the
      channel the decision on the request  for
matic
extradition.
                                      issued by
2. If an order to surrender has been




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                          of the requested Party
the competent authority
                     Party fails to receive the
and the requesting                as may be
person sought within such time              Party ,
                    laws of  the requested
stipulated by the
       set him  at  liberty  and may subsequently
it may
                                   for the same
refuse to extradite that person
          The  requesting   Party shall promptly
offense.                               territory
remove the person received from the
of the requested   Party.

                  ARTICLE XIII
                            under the laws of
   To the extent permitted       to the right
                         subject
the requested Party andarticles acquired as a
of third parties, all
                       or which may be required
result of the offense surrendered if extradition
as evidence shall be
is granted.
                   ARTICLE XIV

                         shall make all neces-
 1. The requested Patty respect to internal
 sary arrangements with
                             detention of the
 procedures, including the
                         out  of the request for
 person sought, arising     expenses  by reason
 extradition and bear the           incurred for
                         expenses
 thereof, provided that              ordered to be
                        the person
 the transportation of           the requesting
 surrendered shall be  paid  by
 Party.
                          shall not make any
 2. The requested Party         requesting Party
  pecuniary claim against the     paid to a person
  by reason of any compensation to him by his
                          caused
  sought for the damages




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           Case 4:20-cv-11272-IT Document 57-3 Filed 11/04/20 Page 19 of 60




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detention, examination or surrender under the
provisions of this Treaty.

                 ARTICLE XV

1. Each Contracting Party shall grant to the
other Party the right to transport through
its territory a person surrendered to the
other Party by a third State on request made
through the diplomatic channel except in any
of the following circumstances:
   (1) When the criminal act which has given
rise to the extradition would not constitute
an offense under the laws of the Contracting
Party through which transit- is requested.
   (2) When the criminal act which has given
rise to the extradition is a political offense
or when it appears that the request for extra-
dition is made with a view to prosecuting,
trying or punishing the person surrendered
for a political offense. If any question
arises as to the application of this -provision,
the decision of the Contracting Party through
Which transit is requested shall prevail.
   (3) When reasons of public order -are opposed
to transit.-
2. In the case above, the Contracting Party to
which extradition has been granted shall re-
imburse the Contracting Party through whose
territory transportation has been made for
any expenses incurred by the latter in con-
nection with such transportation.




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                            ARTICLE XVI

                            subject to ratification
 1. This Treaty shall be                     shall be ex-
 and the  instruments   of ratification
                               soon  as  possible.   It
 changed at.. Washington as
               into  force on   the  thirtieth   day
 shall enter
                                       of the instru-
 after the date of the exchange
 ments of  ratification.rq
                                 apply to any offense
 2. This Treaty shall also         Article II committed
 specified in paragraph    1   of
               Treaty  enters    into  force.
 before this
                         force of this Treaty,
 3. On the entry into            signed at Tokyo on
 the Treaty   of -Extradition
                               Supplementary    Con-
 April 29, 1886m and     the
                                      at  Tokyo on
              Extradition  signed
 vention of                              States of
  May 17,1906[]between the United           provided
                Japan shall   terminate,
  America and                              in the
                         case    pending
  that any extradition             this   Treaty
  requested Party   at the  time
                              remain subject to
  enters into force shall
                   specified    in the above-mentioned
  the procedures                      Supplementary
  Treaty of Extradition and the
  Convention of   Extradition.
                                    may terminate this
  4.•Either Contracting Party
                           giving    six months' written
  Treaty at any time by
  notice to the other Party.
                             the undersigned, being
      IN WITNESS WHEREOF,
                                   their respective
   duly authorized thereto by          Treaty.
   Governments,  have  signed   this
                                       and
     DONE in duplicate, in the English
           languages  both equally authentic,
  Japanese




   Mar. 26, 1980.
 'TS 101; 24 Stat. 1015.
 " TS 454; 34 Stat. 2951.


TIAS 9625

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                                 15
                                    one
 at Tokyo, this third day of March,
 thousand nine hundred and seventy-eight.



      For the United States of America:                   [



      For Japan:


                                      16V)Isf7 "(-- [2]
             p-n-ack-
                    [SEAL]               [SEAL]




Michael J. Mansfield.
Sunao Sonoda.


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                               16
                     SCHEDULE



       Murder, manslaughter, including causing
       death through solicitation or assistance

  2. Assault made with intent to commit murder

 3. Malicious wounding, injury or assault

 4. Illegal-abortion
 5,    Abandonment which causes bodily harm or
       death

 6. An offense relating to kidnapping, ab-
    duction or unlawful arrest or imprisonment

 7. Threat

       Rape, indecent assault

 9.    An offense relating to pandering or
       prostitution

Jo.    An offense relating to obscene material

       Bigamy

12. Burglary

13. Robbery

1A.    Larceny

1 5.   Extortion   blackmail




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                      17

lb.    Fraud (obtaining property, money,
       valuable securities, or other things
                                  pretenses
       of economic value by false
       or by fraudulent means)
                  breach of trust by a
17. Embezzlement,
    person who is in a fiduciary relation-
    ship
                        to unlawfully
18. An offense relating
    obtained property
                            damage of
19. An offense relating to
    property, documents, or  facilities

9 0.   An offense against the laws relating
       to protection of industrial property
       or copyright
                                        or
21. Obstruction of business by violence
    threat

22.    Arson, burning through gross negligence

23. Leading, directing or inciting a riot

24.    An offense against the laws relating to
       protection of public health

25.     An offense endangering public safety
        through explosion, water power or other
        destructive means

 26. Piracy according to the law of nations




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                      18
    An offense relating to unlawful seizure o/
    exercise of control of trains, aircraft,
    vessel or other means of transportation

    An offense interfering with or endangerini
    the normal operation of trains, aircraft,
    vessel or other means of transportation

29. An offense against the laws relating to
    the control of explosive substances,
    incendiary devices or dangerous or
    prohibited weapons

30. An offense against the laws relating to
    the control of narcotic drugs, cannabis,
    psychotropic drugs, cocaine, or their
    precursors or derivatives, or other
    dangerous drugs or chemicals

31. An offense against the laws relating to
    the control of-poisons or other substance
    injurious to health

32. An offense relating to forgery or countex
    feiting

33. An offense against the laws relating to
    the control of gambling or lotteries

34. Assault or threat upon public official
    relating to the execution of his duty

35. An offense relating to false statements

36. An offense relating to perjury




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                       19

37.   An offense relating to escape from
      confinement of a person detained or
      serving a sentence for an offense
      specified in paragraph 1 of Article II
      of this Treaty

38. An offense relating to obstruction of
    justice, including harboring criminals
    and suppressing or destroying evidence

39. Bribery

40.   An offense relating to abuse of official
      authority

41.   An offense against the laws relating to
      the control of public elections or
      political contributions and expenditures

42.   An offense relating to willful evasion
      of taxes and duties

43.   An offense against the laws relating to
      the control of companies or other
      corporations

44. An offense against the laws relating to
    bankruptcy or rehabilitation of a company

45.   An offense against the laws relating to
      prohibition of private monopoly or unfair
      business transactions

46.   An offense against the laws relating to
      the control of exportation and importation
      or international transfer of funds




                             EX-Taylor, P.-00024
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                                 20
         117.    Attempt, conspiracy, assistance, solici
                 tation, preparation for, or participation
                 in, .the commission of any of the above-
                 mentioned offenses




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                                      EX-Taylor, P.-00025
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                                                         U.S. Department of State

                                       CERTIFICATE TO BE ATTACHED TO DOCUMENTARY
                                         EVIDENCE ACCOMPANYING REQUISITIONS IN
                                               THE UNITED STATES FOR EXTRADITION
                                                   AMERICAN FOREIGN SERVICE


                                                                            Tokyo, Japan               06-25-2020
                                                                                     Place and Date (mm-dd-yyyy)
                                                                             Minister—Counselor for Consular Affairs
                Karin M. Lang
                                                                             and Consul General
                                        Name                                                      Title
                                                               Tokyo, Japan
                'ted States of America at

                 rtify.that the annexed papers, being           supporting documents




                                                                                   States of America
                   be used upon an application for the extradition from the United
                    11 Taylor
mik

                      e crime of         Enabling the escape of criminals




                          en committed in          Japan

                                                                                                      similar purposes by.
                                ly authenticated so as to entitle them to be received in evidence for

                                an


      as req                         nited States Code, Section 3190.

                                      hereunto sign my name and cause my seal of office to be affixed


            this                          •     day of                      June, 2020
                                                                                  Month and Year




                                                                               Sign
                                                             Karin M. Lang, Minister—Counselor for
                                                             Consular Affairs and Consul General


                                                                    Type Name and Title of Certifying Officer
                                                                          of the United States of America.




      DS-0036
      08-2019

                                                           EX-Taylor, P.-00026
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                                   CERTIFICATION




             I, MATSUMOTO Rei, Director of the International Affairs Division,
     Criminal Affairs Bureau, Ministry of Justice of Japan, hereby certificate
     that attached hereto is the original Request for Extradition of a Criminal to
     the appropriate Legal Authorities in the United States of America made by
(    the officer of the Government.
            All the documents submitted herein are duly certified and
     authenticated together with certified translations in English.




      June 25, 2020



(_


                                        MATSUMOTO Rei (Ms. )
                                                               lt
                                        Director
                                        International Affairs Division
                                         Criminal Affairs Bureau
                                        Ministry of Justice
                                        Japan




                                 EX-Taylor, P.-00027
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                                CERTIFICATE OF TRANSLATION




             I, Ryozo KITAJIMA, certify that I am competent to translate these documents from
    Japanese to English, and that the translation is true and accurate, to the best of my ability.




    Executed on June 25, 2020
(


                                                  Ryozo KIT AJIMA
                                                  Public Prosecutor
                                                  Special Investigation Department
                                                  Tokyo District Public Prosecutors Office




             I, Rei MATSUMOTO, certify that the said officer has sufficient ability to translate
    these documents.




    Executed on June 25, 2020




                                                  Rei MATSUMOTO
                                                  Director of International Affairs Division
                                                  Criminal Affairs Bureau
                                                  Ministry of Justice




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"



                                                                                    June 25, 2020


    To: The Competent Authorities in the United States of America


                                                                          Chief Public Prosecutor,
                                                 Tokyo District Public Prosecutors Office of Japan




                      Request for Extradition of Peter Maxwell Taylor


             The Tokyo District Public Prosecutors Office has been searching for the fugitive Peter
    Maxwell Taylor to execute the arrest warrant on the allegation of enabling the escape of
    criminals, and aiding and abetting the violation of the Immigration Control and Refugee
    Recognition Act, and we hereby request the U.S. competent authorities extradite him in
    accordance with the Treaty on Extradition between Japan and the United States of America.


    Part I.    Personal Identification Information

               Name:             Peter Maxwell Taylor (Male)
               Nationality:      American


    Part II. Summary of the Case

             The suspects Peter Maxwell Taylor (hereinafter "Peter Taylor"), Michael L. Taylor
    (hereinafter "Michael Taylor") and George-Antoine Zayek (hereinafter "Zayek"), in conspiracy
    with each other, provided assistance and enabled the escape of Carlos Ghosn Bichara
    (hereinafter "Ghosn"). Michael Taylor, Peter Taylor, and Zayek provided assistance and
    enabled Ghosn's escape from Japan to Republic of Lebanon via Republic of Turkey on
    December 29, 2019 by-

               •   Receiving the luggage, which was delivered from Ghosn's house to the Grand
                   Hyatt Tokyo, and providing a place for him to change his clothes;
               •   Escorting Ghosn from Grand Hyatt Tokyo to the Star Gate Hotel Kansai Airport
                   (hereinafter "Star Gate Hotel") in Osaka;
               •   In Star Gate Hotel, hiding Ghosn inside a black musical equipment box;
               •   Travelling from Star Gate Hotel to the premium gate called "Tamayura" at the
                   Kansai International Airport;
               •   Having the employees of the airport, who had no knowledge of their plan, clear
                   the embarkation procedure with Ghosn hidden inside the black box and putting
                   the black box on board of the jet (Flight TCTSR) operated by MNG Jet; and
               •   Departing the airport with Ghosn by Flight TCTSR and then leaving Japan's
                   territory.



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    Part Ill. Details of Applicable Law

    I. Enabling the escape of criminals

         Penal Code
         Article I 03 A person who harbors or enables the escape of another person who has either
             committed a crime punishable with a fine or greater punishment or has escaped from
             confinement shall be punished by imprisonment with work for not more than 3 years
             or a fine of not more than 300,000 yen.
         Article 60 Two or more persons who commit a crime in joint action are all principals.

    2. Interpretation of Article I 03

              As explained in more detail in the Declaration of N aoki Watanabe, attached to this
         request as Exhibit #30, the conduct of Peter Taylor constitutes the crime of enabling the
         escape of criminals pursuant to Article I 03 of the Penal Code, which is one of the offenses
         for which the Tokyo District Court issued a warrant for his arrest and for which Japan seeks
         his extradition from the United States.
              In this case, Michael Taylor, Peter Taylor and Zayek provided assistance and enabled
         Ghosn's escape in violation of Article 103, by the acts described in Parts II and IV.

    3. Statute of limitations

          Code of Criminal Procedure
          Article 250 Paragraph (2) The statute of limitations is completed upon the lapse of the
              following time periods with regard to crimes other than crimes causing the death of a
              person and punishable with imprisonment or imprisonment without work or a greater
              punishment:
              (i) - (v)   (Omitted)
              (vi) 3 years for offenses punishable with imprisonment or imprisonment without
                 work whose maximum term is less than 5 years or with a fine
          Article 255 Paragraph(!) !fan offender is outside Japan ..... , the statute of limitations
              is suspended during the period when the offender is outside Japan .....

    4.   Additional relevant information

              The statute of limitations has been suspended on and from December 29, 2019 since
         Michael Taylor himselfleft Japan when he committed the crime of enabling the escape
         of criminals on that day.


    Part IV. Supplemental Explanation of Facts

    1.       From 2001 through 2018, Ghosn served as Chairman of the Board of Directors and/or
         Chief Executive Officer (CEO) ofNissan Motor Co., Ltd. ("Nissan").
             Nissan is a Japanese automobile manufacturer with securities that trade on the Tokyo
         Stock Exchange.

    2.        During his time in Nissan, Ghosn committed following offenses:



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     (i)         Ghosn, in conspiracy with others including Gregory Lewis Kelly, who was the
           representative director of Nissan, in regard to the business of the Nissan, on five
           occasions within the period from June 2011 to June 2015, submitted Annual Reports
           of five consolidated fiscal years (from April 20 IO to March 2015) which falsely stated
           the compensation of Ghosn for these fiscal years as approximately 4,987,000,000 JPY
           in total, whereas his fixed compensation for these fiscal years indeed were
           approximately 9,855,000,000 JPY in total (Violation of Financial Instruments and
           Exchange Act 1);
     (ii)        Ghosn, in conspiracy with others including Gregory Lewis Kelly, who was the
           representative director of Nissan, in regard to the business of the Nissan, on three
           occasions within the period from June 2016 to June 2018, submitted Annual Reports
           of three consolidated fiscal years (from April 2015 to March 2018) which falsely stated
           the compensation of Ghosn for these fiscal years as approximately 2,904,000,000 JPY
           in total, whereas his fixed compensation for these fiscal years indeed were
           approximately 7,175,000,000 JPY in total (Violation of Financial Instruments and
           Exchange Act);
     (iii)       Ghosn, being requested by the bank to provide additional collateral for a coupon
           swap agreement entered into between his asset management company and that bank
           since a heavy appraisal loss had occurred on that agreement, transferred the status of
           a party to that agreement from that asset management company to Nissan on October
           31, 2008, and accordingly made Nissan liable for the loss incurred under that
           agreement including the appraisal loss of approximately 1,850,400,000 JPY incurred
           on that day, thus a director committed an act in breach of his duty and caused financial
           damages to Nissan for the purpose of promoting his own interest (Violation of
           Companies Act2);
     (iv)        Ghosn, on four occasions within the period from June 29, 2009 to March 27,
           2012, transferred total amount of 14,700,000 USD from the bank accounts of Nissan
           Middle East F.Z.E. (hereinafter "NMEF"), a consolidated subsidiary of Nissan, to the
           bank account of a certain company, located in the Kingdom of Saudi Arabia and
           managed by Khaled Ahmed Al Juffali (hereinafter "Juffali"), one of Ghosn's friend.
           By making these transfers, Ghosn, as a director, committed an act in breach of his duty
           and caused financial damages to Nissan for the purpose of promoting his own interest


1 Financial Instruments and Exchange Act
Article 24(1)        When Securities ... issued by a company fall under any of the categories specified in the
following items, the company shall submit, for each business year, a report stating the trade name of the
company, financial conditions of the Corporate Group to which the company belongs and of the company,
other important matters concerning the company's business and other matters specified by a Cabinet Office
Ordinance as necessary and appropriate for the public interest or protection of investors (hereinafter
referred to an "Annual Securities Report") to the Prime Minister within three months after the end of that
business year... pursuant to the provisions of a Cabinet Office Ordinance.
           (i)        Securities listed in a Financial Instruments Exchange
Article 197        Any person who falls under any of the following items shall be punished by
imprisonment with work for not more than ten years or by a fine of not more than ten million yen, or both.
           (i)       a person who has submitted any of the following documents containing misstatement
           on any important matters; ... , Annual Securities Reports ... thereofunder Article 24(1)
2
  Companies Act
Article 960(1)        When any one of the following persons, for the purpose of promoting such person's
own interest or the interest of a third party, or inflicting damage on a Stock Company, commits an act in
breach of such person's duties and causes financial damages to such Stock Company, such person is
punished by imprisonment for not more than ten years or a fine of not more than ten million yen, or both:
           (iii)     a director, accounting advisor, company auditor, and executive officer



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              and the interest of a third party (Violation of Companies Act); and,
        (v)        Ghosn, on July 25, 2017 and on July 30, 2018, transferred from the bank account
              of NMEF to the bank account of Suhail Bahwan Automobiles LLC (hereinafter
              "SBA"), a company located in the Sultanate of Oman, the total amount of 10,000,000
              USD, 5,000,000 USD of which was intended for Ghosn's personal profit. By making
              these transfers, Ghosn, as a director, committed an act in breach of his duty and caused
              financial damages to Nissan for the purpose of promoting his own interest (Violation
              of Companies Act).

3.          The above offense has been investigated by Tokyo District Public Prosecutors Office
        ("TPPO"). The major timelines of this investigations are;

        (i) On November 19, 2018, TPPO arrested Ghosn for the count 2(i);
        (ii) On December 10, 2018, TPPO indicted Ghosn for the count 2(i) and rearrested Ghosn
              for the count 2(ii);
        (iii) On December 21, 2018, TPPO rearrested Ghosn for the counts 2(iii)(iv);
        (iv) On January 11, 2019, TPPO indicted Ghosn for the counts 2(ii)(iii)(iv);
        (v) On April 4, 2019, TPPO rearrested Ghosn for the count 2(v);
        (vi) On April 22, 2019, TPPO indicted Ghosn for the count 2(v).

4.         Ghosn was detained for certain periods of time from November 19, 2018. However,
       on March 5, 2019, and on April 25, 2019, the Tokyo District Court issued orders releasing
       him on bail.

                  The bail condition included following provisions;

       (i) Ghosn must live in his designated house;
       (ii) When summoned, Ghosn must report to the designated place at the designated time
             (if he has justifiable reasons not to be able to report, he must notify the court of the
             reasons in advance);
       (iii) Ghosn must not hide or flee, or do anything which looks suspicious to tamper
             evidence;
       (iv) If Ghosn take domestic trips for 3 days or more, Ghosn must get approval from the
             court in advance; and,
       (v) Ghosn must not take overseas trips.

              At the time ofhis escape from Japan, dated on December 29, 2019, these cases were
        still pending trial at Tokyo District Court and his bail conditions did not change.

5.            Basic facts for Ghosn's escape from Japan are:

              •     Ghosn left the house (designated by the court under bail conditions), pretending
                    just to be taking a walk;
              •     Ghosn traveled to Osaka, deceiving any observer by dropping by the hotel in
                    Tokyo and changing his clothes;
              •     In the hotel room in Osaka close to the Kansai International Airport, Ghosn hid
                    inside a box brought by Michael Taylor and Zayek, who pretended to be
                    musicians3;

3    An employee of the private lounge in Kansai International Airport gave a statement that Michael Taylor



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          •    They bypassed embarkation procedure, by using the private jet whose luggage is
               unlikely to be checked; and
          •    They departed the airport on the same day.

            In order to execute the above actions, the suspects coordinated on the following
      actions, which are corroborated with evidence including a number of surveillance cameras
      installed on their route and witness statements.

6.         Peter Taylor's immigration records (January 20, 2020)4 show that, in the past year,
      Peter Taylor stayed in Japan from July 8 to 11, from August 21 to 23, and from December
      6 to 7, 2019. He met Ghosn on July 8, 10, 11, August 21, 22, 23, and December 6, 2019 5•

7.         On December 28, 2019, which was the day before the escape, Peter Taylor entered
      into Japan and checked in Room 933 of Grand Hyatt Tokyo at approximately 11 :49am6•
      After check-in, he met Ghosn for about I hour7 and gave him the room key8.

8.         At 10: 10am on December 29, 2019, which was the day of escape, the private jet which
      Michael Taylor and Zayek were on board landed at the Kansai International Airport from
      Dubai. They entered into Japan with their luggage including two large black boxes 9 • At
      approximately 11 :07am, both of them checked into Star Gate Hotel close to the airport 10
      and placed their luggage including the two large black boxes in room 4609. Then, at
      11 :50am, they departed the hotel, went to Shin-Osaka Station and, at 12:56pm, took a
      bullet train (Shinkansen) for Tokyo 11 .

9.         At I: l 9pm, Ghosn came home by Toyota Alphard which he always used for his travel.
      Ghosn went back and forth between inside the house and the garage to take out five
      suitcases from inside of the house to the garage 12 •

10.        At 2:06 pm, Peter Taylor, who waited inside the parking of Grand Hyatt Tokyo,
      received two suitcases from Ghosn's home that were transported in the Alphard driven by


and Zayek told the employees of Kansai International Airport that they were musicians [Exhibit #21].
4
   [Exhibit #16]
5 Except for December 6, 2019, Ghosn's meeting records, which were made as a condition of bail, show
his meetings with Peter Taylor [Exhibit #11]. With respect to December 6, surveillance cameras installed in
Grand Hyatt Tokyo show their meeting [Exhibit #6].
6 A hotel receptionist identified Peter Taylor at the check-in counter by his passport (the hotel register of

Grand Hyatt Tokyo [Exhibit #8, #9], the receptionist's statement [Exhibit #24]).
7
  Surveillance cameras installed in Grand Hyatt Tokyo [Exhibit #4] and the statement of Ghosn's driver
that dropped Ghosn off at Grand Hyatt Tokyo [Exhibit #26]
8
  When Ghosn went to Room 933 of Grand Hyatt Tokyo on December 29, he alone was able to operate the
elevator (surveillance cameras installed in Grand Hyatt Tokyo [Exhibit #2, #4]), which required a room
key (the receptionist's statement [Exhibit #24]). Therefore, it is obvious that he had the room key at the
time. Ghosn had no other option but to get the room key from Peter Taylor, who stayed at the room. This is
only when Peter Taylor met with Ghosn after Peter Taylor's check-in.
9 Interview results report [Exhibit #18], surveillance cameras installed in the Kansai International Airport

[Exhibit #I]. For your information, immigration officials identified both Michael Taylor and Zayek at the
immigration counter by their passport.
10 The hotel register of Star Gate Hotel [Exhibit #25], surveillance cameras installed in that hotel [Exhibit

#I]
11 Surveillance cameras installed in Star Gate Hotel and Shin-Osaka Station [Exhibit #I]
12 Surveillance camera installed in Ghosn's house [Exhibit #7]




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      Ghosn's driver. Ghosn was not in the Alphard. Peter Taylor carried those two suitcases to
      Room 933 of Grand Hyatt Tokyo 13 .

11.        At approximately 2:30pm, Ghosn left the house from the main entrance with a knit
      cap and a scarf but without baggage. He walked to Grand Hyatt Tokyo, operated the
      elevator at the hotel using the card key he had been given by Peter Taylor to the 9th floor,
      entered Room 933 at 2:53pm, and changed his clothes there 14 .
           At approximately 3:24pm, Michael Taylor and Zayek left Shinagawa Station in Tokyo
      for Grand Hyatt Tokyo by taxi, met Peter Taylor at the entrance of the hotel, entered Room
      933 together, and Michael Taylor, Zayek, Peter Taylor and Ghosn came out of Room 933
      with luggage including two suitcases which Peter Taylor received in the parking of Grand
      Hyatt Tokyo.
           Michael Taylor, Zayek and Ghosn took a taxi to Shinagawa Station with one suitcase
      out of two suitcases which Peter Taylor received, passed the ticket gate in Shinagawa
      Station at 4:43pm, and left for Osaka 15 •
           Peter Taylor carried one suitcase which Ghosn, Michael Taylor and Zayek did not
      carry, out of two suitcases which Peter Taylor received, and departed alone to China from
      Narita Airport 16 .

12.        At approximately 7:24pm, Michael Taylor, Zayek and Ghosn left Shin-Osaka Station
      for Star Gate Hotel by taxi 17 .
           At 8:14pm, Michael Taylor, Zayek and Ghosn arrived at Star Gate Hotel. Zayek and
      Ghosn entered Room 4609, and Michael Taylor joined them later. Ghosn hid in one of the
      big black boxes. At 9:57pm, Michael Taylor and Zayek left that room carrying their
      baggage including two big black boxes, one of which contained Ghosn. There is no video
      surveillance camera image of Ghosn leaving Room 4609. Michael Taylor and Zayek
      departed from the hotel and arrived at Kansai International Airport at 10:20pm. The
      baggage which Michael Taylor and Zayek carried passed the security check area without
      being checked and was loaded into the aforementioned private jet 18 .
           The aforementioned private jet departed for the Republic of Turkey at 11:10pm with
      Michael Taylor, Zayek and their baggage including the box containing Ghosn. Ghosn and
      others transferred airplanes at the airport in Turkey and finally entered the Republic of
      Lebanon.

13.         On December 31, 2019, Ghosn made a public announcement that he was in Lebanon.
      On that day, based on TPPO's request, Tokyo District Court vacated all bails on the ground
      that he had violated the conditions referred to in the paragraph 4 above.

14.        Ghosn made wire transfers to a bank account under the name of PROMOTE FOX



13 Surveillance cameras installed in Grand Hyatt Tokyo [Exhibit #4]
14 Surveillance cameras installed in Ghosn's house, on the street and in Grand Hyatt Tokyo [Exhibit #2,
#4, #5, #7]
15 Surveillance cameras installed in Grand Hyatt Tokyo, in Shinagawa Station, and inside the Shinkansen,
and the drive recorder of the taxi [Exhibit #3]
16 Surveillance cameras installed in Grand Hyatt Tokyo [Exhibit #4], Peter Taylor's immigration records

[Exhibit #16]
17 Surveillance cameras installed in Shin-Osaka Station and the drive recorder of the taxi [Exhibit #3]
18 Surveillance cameras installed in Star Gate Hotel [Exhibit #3], statements of an employee of the private

lounge in the Kansai International Airport and a security inspector [Exhibit #21, #23]



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        LLC, a company managed by Peter Taylor, as follows; 19

             •    October 9, 2019           540,000 USD
             •    October 25, 2019          322,500 USD

15.          The Tokyo District Public Prosecutors Office obtained the information that Michael
        Taylor and Peter Taylor entered the U.S. on February 16, 2020, and March 22, 2020,
        respectively, both from Dubai, the United Arab of Emirates, and requested the U.S.
        competent authority to execute provisional arrest. TPPO was informed that both Michael
        Taylor and Peter Taylor were arrested by the U.S. authorities on May 20, 2020, after they
        discovered that Peter Taylor was about to board a flight to Beirut, Lebanon. Japan does not
        have extradition treaties with Lebanon, the United Arab of Emirates, or China. The TPPO
        hereby requests the U.S. competent authority to extradite both of them.


Part V. Identification of the Fugitives

         The Tokyo District Public Prosecutors Office has identified the fugitives based on
the following evidential facts.

I.          Peter Taylor

(i)       The name of a man on the hotel register who stayed at Room 933 of Grand Hyatt
     Tokyo on December 28-29, 2019 is "Peter Taylor" and Peter Taylor's passport is attached
     to the register [Exhibit #8, #9, #24].
(ii)      The acts of aforementioned man after check-in were almost seamlessly recorded by
     the surveillance cameras installed in the lobby, elevators, 9th floor's elevator hall,
     corridors and parking Jot. The records of surveillance cameras include the scenes that (i)
     the aforementioned man is contacting with a man who appears to be Ghosn in the hotel on
     December 28, (ii) the aforementioned man is receiving two suitcases at the parking Jot of
     Grand Hyatt Tokyo on December 29, (iii) the aforementioned man is entering Room 933
     together with men who appear Michael Taylor and Zayek and going out of the Room 933
     with men who appear Ghosn, Michael Taylor and Zayek [Exhibit #4]. The
     aforementioned man in each scene is deemed to be the same based on appearance and
     clothes, and his face resembles the picture on Peter Taylor's passport and the picture
     taken when he entered Japan [Exhibit #9, #13].

2.          Michael Taylor and Zayek

(i)        The immigration officer identified Michael Taylor and Zayek by their passports
     when they entered Japan. Their names are on the application documents as passengers of
     the private jet used in this case [Exhibit #1 O].
(ii)       The acts of Michael Taylor and Zayek after entering Japan are almost seamlessly
     traceable by surveillance cameras. Especially, they have been recorded in the surveillance
     cameras installed in Kansai International Airport, Star Gate Hotel, the bullet train,
     Shinagawa Station, Grand Hyatt Tokyo [Exhibit #1, #3, #4]. In addition, there are clear
     images of their faces recorded by the drive recorder and surveillance cameras installed in
     the taxi and the private lounge in Kansai International Airport respectively [Exhibit #1,

19    Relevant bank records [Exhibit #29]



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        Case 4:20-cv-11272-IT Document 57-3 Filed 11/04/20 Page 37 of 60




      #3], and the faces on the images resemble the pictures on their passports and pictures
      taken when they entered Japan [Exhibit #10, #12].
(iii)      The procedures of immigration recorded in the surveillance cameras are consistent
      with statements of the employees of the private lounge in Kansai International Airport
      and the airplane handling company, who served Michael Taylor and Zayek [Exhibit #1,
      #3,#20,#21].
(iv)       Michael Taylor and Zayek repeatedly entered and left Room 4009 and 4609 of Star
      Gate Hotel, and the names on the hotel register of those rooms are respectively "Taylor
      Michael" and "ZAYEK GEORGE ANTOINE" and their passport numbers are on the
      register [Exhibit #25].

3.        Ghosn

(i)        The surveillance camera installed in Grand Hyatt Tokyo has recorded a scene that a
      man met with Peter Taylor at Grand Hyatt Tokyo after he arrived there and got out of
      Alphard, which Ghosn used, on December 28, 2019 [Exhibit #4]. The surveillance
      camera installed in Ghosn' s house has recorded a scene that a man was coming into
      Ghosn's house around noon on December 29, 2019 [Exhibit #7].
           Concerning these situations, the driver of Ghosn gave a statement that he drove
     Ghosn to Grand Hyatt Tokyo afternoon on December 28, 2019 and that he drove Ghosn to
     his house from a restaurant around noon on December 29, 2019 [Exhibit #26]. Taking
     them into consideration, the man is identified as Ghosn.
(ii)       On December 29, 2019, the acts of a man such as going to Grand Hyatt Hotel from
      around Ghosn's house on foot, entering Room 933 of Grand Hyatt Hotel, leaving the
      room together with the men who appear to be Peter Taylor, Michael Taylor and Zayek,
      going to Osaka by the bullet train and entering Room 4609 of Star Gate Hotel, are almost
      seamlessly traceable by the surveillance cameras. Specifically, surveillance cameras
      installed on the street from around Ghosn's house to Grand Hyatt Tokyo, in Grand Hyatt
      Tokyo, in Shinagawa Station, inside the bullet train, in Shin Osaka Station and in Star
      Gate Hotel have recorded his acts [Exhibit #2, #3].
           Concerning these situations, there are clear images of the man's face without knit
      cap and mask recorded by the drive recorder of the taxi going to Star Gate Hotel from
      Shin Osaka Station [Exhibit #3 (picture #141)], which closely resemble Ghosn's face.


Part VI. Issuance of Warrant for the Fugitive's Arrest

      The following warrant for Peter Taylor's arrest, which is valid until now, was issued:

      Date of Issuance:       February 28, 2020 20
      Issuing Judge:          Yukiko Yomori, Tokyo District Court
      Suspected Case:         Enabling the escape of criminals, and aiding and abetting the
                              violation of the Immigration Control and Refugee Recognition Act
      Expiration Date:        August 28, 2020 (the term of validity is scheduled to be renewed
                              until Peter Taylor is arrested)




20 The arrest warrant was initially issued on January 30, 2020. However, the fugitive was not arrested by
the expiration date, February 28, and the warrant was reissued on that date.



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Part VII. Requested Matters

         We request that Peter Taylor be extradited to Japan, based upon the criminal facts
mentioned above to be applicable for extradition.
         The cited criminal facts come under the Article 2, paragraph (I) of the Extradition
Treaty between the United States and Japan and satisfy the requirement of the Article 3 of the
said Treaty, with no hindrance for the execution of extradition.


Part VIII. Attached Materials

    I.    Certified copy of the arrest warrant
    2.    The fugitive's face photo and fingerprints
    3.    Copies of the fugitive's passports
    4.    Documentary Evidence




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                              Arrest Warrant (Ordinary Arrest)

      Name of the suspect                                Peter Maxwell Taylor
    Age, Address, Occupation of the suspect, As described in the attached Request
    Charge for which the arrest is permitted, for the Arrest Warrant
    summary of alleged facts of crime, place
    where suspect is to be brought, the official
    title and name of the requester:

    Term of validity:                                   Until August 28th, 2020

      After the term of validity, this warrant no longer enables initiation of an arrest. In the
      event of its expiration, it shall be returned to the competent court.
      Even during the term of validity, if an arrest becomes unnecessary, it must be
      immediately returned to the competent court.

      I hereby permit an arrest of the suspect based on the aforementioned alleged facts of
      crime.
              February 28th, 2020
                Tokyo District Court
                            Judge Yukiko Yomori
      Seal of the official title and name of the
      arrester

      Time/date/year and place of the arrest          Arrested at           on               , 20·· at

      Time/date/year and place of custody             At          on                 , 20·· at

      Name and seal

      Time/date/year of the procedure to send At                  on                 , 20·· at

      Name and seal

      Time/date/year of the receipt of                 At         on                 , 20·· at

      Name and seal

Note: When executing the arrest, on the spot, search, seizure or inspection may be simultaneously carried
      out; however, attention is required so that honor of the suspect is respected and that disturbance to
      others is avoided as much as possible.
      The suspect who has been arrested by this warrant is entitled to appoint defense attorney.




                                        EX-Taylor, P.-00038
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                                   Request for an Arrest Warrant
                                                                         February 28 1", 2020
To: Judge, Tokyo District Court
                                             Tokyo District Public Prosecutors Office
                                                    Public Prosecutor    Naoki Watanabe
I hereby request issuance of an Arrest Warrant against the person specified below on the alleged
harboring of criminals and accessoryship of violation of the Immigration Control and Refugee
Recognition Act (Article 71, 25 II) case.
I. Suspect
             Name: PETER MAXWELL TAYLOR
             Age: 26, born on February 20th , 1993
             Occupation: Unknown
             Address: Unknown
2. If the term of validity needs to be longer than 7 days, the necessary term and reason for it:
             As described in Annex 1
3. Government or public office or other place to which the suspect is taken:
             Tokyo District Public Prosecutors Office, its Branch Offices or Suboffices and           Local
             Public Prosecutors Offices in the jurisdiction of the abovementioned District Public
             Prosecutors Office;
             A District Public Prosecutors Office located within the jurisdiction of place of the arrest of
             the suspect, its Branch Offices or Suboffices and Local Public Prosecutors Offices in the
             jurisdiction of the abovementioned District Public Prosecutors Office; or
             Tokyo Detention Center.
4. If more than one warrant is necessary, the number and the reason:
             Not Applicable.
5. Probable reasons to suspect that the suspect has committed the crime:
             The entire volume of the case documents, including the investigation report by the prosecutor
             dated on January 29th , 2020.
6. Reasons for the necessity of the suspect's arrest:
             There are reasonable grounds to suspect that he is likely to tamper evidence by himself or in
             conspiracy with interested persons and that he may flee.
7. In the case a warrant had been previously requested or issued against the suspect, concerning the
  same fact or other fact currently under investigation, mention that, and describe the reasons for
  requesting another Arrest Warrant concerning the same fact:
             As described in Annex 2
8. With regard to the offense which shall be punished with a fine of not more than 300,000 JPY (or
  20,000 JPY with regard to crimes other than those under the Penal Code, the Act on Punishment of




                                         EX-Taylor, P.-00039
     Case 4:20-cv-11272-IT Document 57-3 Filed 11/04/20 Page 41 of 60




  Physical Violence and Others, and the Act on Penal Provisions related to Economic Activities) and a
  misdemeanor detention or petty fine, describe reasons stipulated by the proviso of Paragraph I of
  Article 199 of the Code of Criminal Procedure:
          Not Applicable
9. Summary of the alleged facts ofa crime:
          As described in Annex 3




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Annex 1



If the term of validity needs to be longer than 7 days, the necessary term and reason for it:

I. Term
   For 6 month

2. Reason
   The suspect is currently not in Japan and the prosecutor at Tokyo District Public Prosecutors
   Office cannot make contact with the suspect. In addition, given that the suspect provided
   assistance and enabled Carlos Ghosn Bichara's escape and the suspect himself escaped from
   Japan, and that the fact of Ghosn's escape has been widely reported in foreign country, and
   therefore the suspect can easily notify the investigation against himself is on-going, it is
   unlikely that the suspect voluntarily enters Japan.
   We need to request other countries for cooperation to find the whereabouts of the suspect and
   to arrest the suspect. For that, we need a considerable long period of time in negotiating with
   other countries.




                                      EX-Taylor, P.-00041
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Annex 2

In the case a warrant had been previously requested or issued against the suspect, concerning the
same fact or other fact currently under investigation, mention that, and describe the reasons for
requesting another Arrest Warrant concerning the same fact:

Although an arrest warrant was issued on January 30'\ 2020 by Judge Yukiko Yomori at Tokyo
District Court in connection with the fact of the same crime, the suspect has not been arrested
until today.




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Annex 3

Alleged facts of a crime:

The suspect, in conspiracy with Michael L. Taylor and George Antoine Zayek, knowing that
Carlos Ghosn Bichara (hereinafter "Ghosn"), who held citizenships of French Republic,
Republic of Lebanon, and Federative Republic Brazil, was a defendant under criminal
proceedings pending at Tokyo District Court for the offences of Violation of Financial
Instruments and Exchange Act and Violation of Company Act, and bailed under the conditions
including neither hide nor escape and no overseas trip, for the purpose of enabling him to get off
with the punishment, at the time of Ghosn's departure from Japan to Republic of Lebanon via
Republic of Turkey, from 1:53pm to 11:10pm on December 291\ 2019, provided assistance and
enabled Ghosn's escape by; carrying Ghosn's luggage from Ghosn's house at
Azabunagasakacho 1-10, Minato-ward, Tokyo prefecture, to Grand Hyatt Tokyo at Roppongi
6-10-3, Minato-ward; in the hotel, handing the luggage to Ghosn and providing a place for him
to change Ghosn' s cloths; escorting Ghosn from the hotel to Star Gate Hotel Kansai Airport at
Rinkuoraikita 1, Izumisano-city, Osaka prefecture; in the hotel, hiding Ghosn inside their
carrying luggage; travelling from the hotel to the premium gate called "Tamayura" at the Kansai
International Airport located at Tajiri-cho, Sennan-gun, Osaka prefecture, or so; having the
employees of the airport, who had no knowledge of their plan, clear the embarkation procedure
with hiding Ghosn inside their carrying luggage and put the luggage on board of the jet of Flight
TCTSR operated by MNG Jet; and departing the airport with Ghosn by Flight TCTSR and then
leaving Japan's territory, thus the suspect committed harboring of criminals by assisting Ghosn's
escape and aided by easing Ghosn's illegal leaving from Japan without receiving confirmation
by immigration officer.




                                     EX-Taylor, P.-00043
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           The above is a certified copy.
                  June 25, 2020
Minako Inokura, Public Prosecutor's Assistant Officer
     Tokyo District Public Prosecutors Office




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    Applicant's Identity Information
\
    l. Particulars of identity
      Nationality         United States of America
      Name                TALOR PETER MAXWELL
      Sex                 Male
      Date of Birth -                        1993
      Date of Application for Landing                 December 28, 2019
      Place of Application for Landing                Narita Airport


    2. Image of fingerprints


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             Left index finger                                         Right index finger


    3. Image of Face




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                                              EX-Taylor, P.-00045
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          The above is a certified extract.
                  June 25, 2020
Minako Inokura, Public Prosecutor's Assistant Officer
     Tokyo District Public Prosecutors Office




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          The above is a certified extract.
                  June 25, 2020
Minako Inokura, Public Pro sec uto r's Assistant Officer
     Tokyo District Public Prosecutors Office




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          List of Exhibits
    No.                                                                        Title

    1     Report on Image Analysis Results (January 19, 2020)



    2     Report on Image Analysis Results (January 18, 2020)



    3     Report on Image Analysis Results (January 19, 2020)



    4     Report on Image Analysis Results (January 18, 2020)



    5     Report on Image Analysis Results (January 18, 2020)



    6     Report on Image Analysis Results (January 20, 2020)



    7     Investigation Report (January 15, 2020)



    8     Copy Report (January 17, 2020)


          Enquiry for Information Related to Investigation (January 4, 2020)
    9        *written reply is attached


    10    Report on Collection of Documents (January 23, 2020)


C   11    Investigation Report (June 3, 2020)


          Enquiry for Information Related to Investigation (January 4, 2020)
    12       *written reply (made on January 4, 2020) is attached

          Enquiry for Information Related to Investigation (January 7, 2020)
    13       >!<written reply (made on January 7, 2020) is attached

          Enquiry for Immigration Records (January 17, 2020)
    14       *written reply (made on January 20, 2020) is attached

          Enquiry for Immigration Records (January 17, 2020)
    15       *written reply (made on January 20, 2020) is attached

          Enquiry for Immigration Records (January 17, 2020)
    16       *written reply (made on January 20, 2020) is attached

          Enquiry for Immigration Records (January 6, 2020)
    17       >!<written reply (made on January 7, 2020) is attached


    18    Interview Results Report (January 18, 2020}



    19    Record of Oral Statement to Detective by Tomoyuki Matsui (January 29, 2020}



    20    Record of Oral Statement to Detective by Tomoyuki Matsui (January 29, 2020)



    21    Record of Oral Statement to Detective by Kayoko Tokunaga (January 19, 2020)



    22    Record of Oral Statement to Detective by Shigekuni Kawada (January 20, 2020)



    23    Record of Oral Statement to Detective by Akira Baba (January 18, 2020)



    24    Record of Oral Statement to Detective by Waegenaer Herlinde (January 19, 2020)



    25    Report on Collection of Documents (January 21, 2020)



    26    Record of Oral Statement to Prosecutor by Ticzon Danilo Ejanda (January 27, 2020)



    27    U.S. Entry and Exit Records of Michael Taylor (March 31, 2020)



    28    U.S. Entry and Exit Records of Peter Taylor (March 31, 2020)



    29    Investigation Report (June 5, 2020)



    30    Declaration of Naoki Watanabe


                                                        EX-Taylor, P.-00049
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                                      Exhibit




                      EX-Taylor, P.-00050
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Form of Attachments to Record of Statements


                           Report on Image Analysis Results
(Movements of two investigation subjects on 29th December from entry into Japan to arrival
at Grand Hyatt Tokyo)

                                                                           19th January 2020

To: Mr. Yukiharu Watarai, Judicial Police Officer and Senior Superintendent
Director of First Criminal Investigation Division of the Tokyo Metropolitan
Police Department

                     Yoshiyuki Suzuki, Judicial Police Officer and Assistant Police Inspector
          First Criminal Investigation Division of the Tokyo Metropolitan Police Department

Regarding the case of suspected violations of the Immigration Control and Refugee
Recognition Act by suspect Carlos Ghosn Bichara, we have confirmed, by analyzing image
data collected from security cameras, and report below, the movements of the investigation
subjects, George Antoine Zayek and Michael L Taylor, from their entry into Japan to joining
another investigation subject, Peter Maxwell Taylor at Grand Hyatt Tokyo.

1. Date of analysis
    Period from 2nd January 2020 to 19th January 2020
2. Persons who performed analysis
(1) This reporter
(2) The following members of the First Criminal Investigation Division of the Tokyo
    Metropolitan Police Department:
     Munehani Keida, Judicial Police Officer and Assistant Police Inspector
     Hironori Takimoto, Judicial Police Officer and Police Sergeant
     Ryuji Umezawa, Judicial Police Officer and Police Sergeant
     Kei Watanabe, Judicial Police Officer and Police Sergeant
     Isao Komatsu, Judicial Police Officer and Police Sergeant
     Kazuhiro Minagawa, Judicial Police Officer and Police Sergeant
     Yusuke Kataigi, Judicial Police Officer and Police Sergeant
     Hiroshi Takei, Judicial Police Officer and Police Sergeant
3. Equipment used for analysis
    Nine analytical terminals (laptop personal computers)
4. Data analyzed
(1) Images from a security camera installed at Kansai International Airport, 1 Senshu-kuko
    Kita, Izumisano-shi, Osaka
                                                              (Images Nos. 1 — 8 and 17 — 24)
(2) Images from a security camera installed at the security check room of the Premium Gate
    Tamayura, Terminal 2 Building of Kansai International Airport, 13 Senshu-kuko Naka,
    Tajiricho, Sennan-gun, Osaka
                                                            (Images Nos. 9— 16 and 25— 29)
(3) Images from a security camera installed near the entrance of the Premium Gate Tamayura,
    Terminal 2 Building of Kansai International Airport, 13 Senshu-kuko Naka, Tajiricho,
    Sennan-gun, Osaka
                                                                         (Images Nos. 30 — 34)
(4) Images from security cameras installed at Star Gate Hotel Kansai Airport, 1 Rinku Orai
    Kita, Izumisano-shi, Osaka
                                                                       (Images Nos. 35 — 133)



                           Tokyo Metropolitan Police Department
                                  EX-Taylor, P.-00051
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Form of Attachments to Record of Statements


(5) Images from security cameras installed at JR Tokai Shin Osaka Station, 5-16-1 Nishi-
    nakajima, Yodogawa-ku, Osaka-shi, Osaka
                                                                       (Images Nos. 134— 157)
(6) Images from security cameras installed in JR Tokai Nozomi No. 162
                                                                       (Images Nos. 158 — 174)
(7) Images  from  security cameras   installed at JR  Tokai Shinagawa    Station, 2-1-78 Konan,
    Minato-ku, Tokyo
                                                                       (Images Nos. 175 — 194)
(8) Images from security cameras installed near a corridor (Jiyu Tsuro) at JR Shinagawa East
    Building, 2-18-1 Konan, Minato-ku, Tokyo
                                                                       (Images Nos. 195 —206)
(9) Images from security cameras installed at 3-26-27 Takanawa, Minato-ku, Tokyo
                                                                       (Images Nos. 207 —218)
(10)Images from security cameras installed near the taxi stand at JR Shinagawa East Building,
    2-18-1 Konan, Minato-ku, Tokyo
                                                                       (Images Nos. 219 — 239)
(11)Images from security cameras installed at Grand Hyatt Tokyo, 6-10-3 Roppongi, Minato-
    ku, Tokyo
                                                                       (Images Nos. 240 — 266)
5. Analytical results
    As shown in the sketches and documents attached hereto.
6. Symbols (codes) assigned to the investigation subjects
    For the purpose of the sketches and documents attached hereto:
(1) George Antoine Zayek (hereinafter referred to as "George") is assigned and indicated as
    code A;
(2) Michael L Taylor (hereinafter referred to as "Michael") is assigned and indicated as code
    B; and
(3) Peter Maxwell Taylor (hereinafter referred to as "Peter") is assigned and indicated as code
    C.
    These codes have been inserted, as appropriate, on the images contained in the documents
    to show the movements of the investigation subjects, etc.
(4) In unsharp images analyzed, the investigation subjects were identified based on what was
    found out in other security camera images.
7. Measures
    To clarify the analytical results, attached to the end of this report are: (1) five sketches;
    and (2) a 67-page document in Excel file format containing 266 images, which are still
    images extracted from relevant videos, trimmed, enlarged and/or otherwise adjusted, and
    accompanied by legends.
                                                                                             End




                            Tokyo Metropolitan Police Department
                                   EX-Taylor, P.-00052
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                                      Exhibit                2




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Form of Attachments to Record of Statements


                             Report on Image Analysis Results
(Movements of Ghosn on 29th December from his home to Grand Hyatt Tokyo)
                                                                          18th January 2020
To: Mr. Yukiharu Watarai, Judicial Police Officer and Senior Superintendent
Director of First Criminal Investigation Division of the Tokyo Metropolitan
Police Department
                                 Ryuji Umezawa, Judicial Police Officer and Police Sergeant
          First Criminal Investigation Division of the Tokyo Metropolitan Police Department

Regarding the case of suspected violations of the Immigration Control and Refugee
Recognition Act by suspect Carlos Ghosn Bichara, we have confirmed, by analyzing image
data collected from security cameras, and report below, the movements of the suspect.

1.    Date of analysis
      Period from 2nd January 2020 to 18th January 2020
2     Persons who performed analysis
(1)   This reporter
(2)   Yoshiyuki Suzuki, Judicial Police Officer and Assistant Police Inspector, First Criminal
      Investigation Division of the Tokyo Metropolitan Police Department
(3)   Daisuke Hara, Judicial Police Officer and Assistant Police Inspector, First Criminal
      Investigation Division of the Tokyo Metropolitan Police Department
(4)   Hiroshi Takei, Judicial Police Officer and Police Sergeant, First Criminal Investigation
      Division of the Tokyo Metropolitan Police Department
(5)   Kazuhiro Minagawa, Judicial Police Officer and Police Sergeant, First Criminal
      Investigation Division of the Tokyo Metropolitan Police Department
(6)   Kei Watanabe, Judicial Police Officer and Police Sergeant, First Criminal Investigation
      Division of the Tokyo Metropolitan Police Department
(7)   Isao Komatsu, Judicial Police Officer and Police Sergeant, First Criminal Investigation
      Division of the Tokyo Metropolitan Police Department
3.    Equipment used for analysis
      Seven analytical terminals (laptop personal computers)
4.    Data analyzed
(1)   Images from a security camera installed at Nagasaka Building, 1-3 Azabu-Nagasakacho,
      Minato-ku, Tokyo
                                                                       (see images Nos. 1 —2)
(2)   Images from security cameras installed at Azabu Nagasaka House, 1-54 Azabu-
      Nagasakacho, Minato-ku, Tokyo
                                                                     (see images Nos. 3 — 19)
(3)   Images from a security camera installed at Kabushiki Kaisha Nagasaka Sarashina, 13
      Azabu-Nagasakacho, Minato-ku, Tokyo
                                                                    (see images Nos. 20 — 23)
(4)   Images from security cameras installed at Tokyo Metropolitan Police Department
      Toriizaka Residence, 1-1-6 Azabu Juban, Minato-ku, Tokyo
                                                                    (see images Nos. 24— 31)
(5)   Images from a security camera installed at Minato City Azabu Library, 5-12-24
      Roppongi, Minato-ku, Tokyo
                                                                    (see images Nos. 32 — 34)
(6)   Images from camera No. 2 of Nagasaka-kai, installed near 1-4-2 Azabu Juban, Minato-
      ku, Tokyo
                                                                    (see images Nos. 35 —38)



                            Tokyo Metropolitan Police Department
                                   EX-Taylor, P.-00127
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(7) Images from camera No. 5 of Azabu Juban Shotengai Promotion Association, installed
    near 1-7-3 Azabu Juban, Minato-ku, Tokyo
                                                                       (see images Nos. 39 — 41)
(8) Images from camera No. 1 of Nagasaka-kai, installed near 1-4-6 Azabu Juban, Minato-
    ku, Tokyo
                                                                       (see images Nos. 42 — 46)
(9) Images from security cameras installed at Minato City Azabu Juban Public Parking
    Station, 1-4-10 Azabu Juban, Minato-ku, Tokyo
                                                                       (see images Nos. 47 — 54)
(10)Images from security cameras installed at Roppongi Hills Gate Tower, 6-11-1 Roppongi,
    Minato-ku, Tokyo
                                                                       (see images Nos. 55 — 61)
(11)Images from security cameras installed at Roppongi Hills Mon Tower, 6-10-1 Roppongi,
    Minato-ku, Tokyo                                                •
                                                                       (see images Nos. 62— 89)
(12)Images from security cameras installed at Grand Hyatt Tokyo, 6-10-3 Roppongi, Minato-
    ku, Tokyo
                                                                      (see images Nos. 90 — 106)
5. Analytical results
    As shown in the sketches and documents attached hereto.
6. Symbols (codes) assigned to the suspect
(1) For the purpose of the sketches and documents attached hereto, suspect Carlos Ghosn
    Bichara (hereinafter referred to as "Ghosn") is assigned and indicated as code G. This
    code has been inserted, as appropriate, on in the images contained in the documents to
    show the movements of the suspect.
(2) In unsharp images analyzed, the suspect was identified based on what was found out in
    other security camera images.
7. Measures
    To clarify the analytical results, attached to the end of this report are: (1) two sketches;
    and (2) a 27-page document in Excel file format containing 106 images, which are still
    images extracted from relevant videos, trimmed, enlarged and/or otherwise adjusted, and
    accompanied by legends.
                                                                                            End




                           Tokyo Metropolitan Police Department
                                  EX-Taylor, P.-00128
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                                      Exhibit                 3




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Form of Attachments to Record of Statements


                           Report on Image Analysis Results
(Movements of the suspect and two others on 29th December from Grand Hyatt Tokyo to
departure from Japan)

                                                                            19th January 2020

To: Mr. Yukiharu Watarai, Judicial Police Officer and Senior Superintendent
Director of First Criminal Investigation Division of the Tokyo Metropolitan
Police Department

                       Yoshiyuki Suzuki, Judicial Police Officer and Assistant Police Inspector
                       First Criminal Investigation Division of the Tokyo Metropolitan Police
                       Department

Regarding the case of suspected violations of the Immigration Control and Refugee
Recognition Act by suspect Carlos Ghosn Bichara, we have confirmed, by analyzing image
data collected from security cameras, and report below, the movements of the suspect and the
investigation subjects, George Antoine Zayek and Michael L Taylor, from Grand Hyatt Tokyo
to their departure from Japan.

1.    Date of analysis
      Period from 2nd January 2020 to 19th January 2020
2.    Persons who performed analysis
(1)   This reporter
(2)   The following members of the First Criminal Investigation Division of the Tokyo
      Metropolitan Police Department:
      Muneharu Keida, Judicial Police Officer and Assistant Police Inspector
      Daisuke Hara, Judicial Police Officer and Assistant Police Inspector
      Hironori Takimoto, Judicial Police Officer and Police Sergeant
      Ryuji Umezawa, Judicial Police Officer and Police Sergeant
      Kei Watanabe, Judicial Police Officer and Police Sergeant
      Isao Komatsu, Judicial Police Officer and Police Sergeant
      Hiroshi Takei, Judicial Police Officer and Police Sergeant
      Yusuke Kataigi, Judicial Police Officer and Police Sergeant
3.    Equipment used for analysis
      Nine analytical terminals (laptop personal computers)
4.    Data analyzed
(1)   Images from security cameras installed at Grand Hyatt Tokyo, 6-10-3 Roppongi, Minato-
      ku, Tokyo
                                                                           (Images Nos. 1 — 35)
(2)   Images from security cameras installed at Roppongi Hills Mori   Tower,  6-10-1 Roppongi,
      Minato-ku, Tokyo
                                                             (Images Nos. 36 — 51 and 54 — 56)
(3)   Images from the drive recorder installed in a taxi (Nerima 530U6876) of Kokusai kotsu
      Co., Ltd.
                                                       (Images Nos. 52, 53, 57, 58 and 60 — 63)
(4)   An image from a security camera installed at Shinagawa Station Takanawa Exit Police
      Box of Takanawa Police Station, Tokyo Metropolitan Police Department, 3-26-30
      Takanawa, Minato-ku, Tokyo
                                                                                (Image No. 59)



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(5) Images from security cameras installed at JR East Shinagawa Station, 3-26-27 Takanawa,
     Minato-ku, Tokyo
                                                                               (Images Nos. 64— 88)
(6) Images from security cameras installed at JR Tokai Shinagawa Station, 2-1-78 Konan,
     Minato-ku, Tokyo
                                                                              (Images Nos. 89 — 110)
(7)  Images  from  security cameras   installed in JR Tokai  Nozomi    No.  391
                                                                            (Images Nos. 111 — 124)
(8) Images from security cameras installed at JR Tokai Shin Osaka Station, 5-16-1 Nishi-
     nakajima, Yodogawa-ku, Osaka-shi, Osaka
                                                                            (Images Nos. 125 — 135)
(9) Images from the drive recorder installed in a taxi (Naniwa 50015636) of Tsurumi Office of
     Kabushiki Kaisha Miraito
                                                                            (Images Nos. 136 — 145)
(10)Images from a security camera installed at the SiS Rinku Tower, 1 Rinku Orai Kita,
     Izumisano-shi, Osaka
                                                                            (Images Nos. 146 — 149)
(11) Images from security cameras installed at Star Gate Hotel Kansai Airport, 1 Rinku Orai
     Kita, Izumisano-shi, Osaka
                                                           (Images Nos. 150 — 200 and 213 —300)
(12)Images from a security camera installed near the      entrance  of the Premium Gate Tamayura,
     Terminal 2 Building of Kansai International Airport, 13 Senshu-kuko Naka, Tajiricho,
     Sennan-gun, Osaka
                                                           (Images Nos. 201 —212 and 301 — 315)
(13)Images from a security camera installed at the security check room of the Premium Gate
     Tamayura, Terminal 2 Building of Kansai International Airport, 13 Senshu-kuko Naka,
     Tajiricho, Sennan-gun, Osaka
                                                                            (Images Nos. 316 — 333)
(14)Images from security cameras installed at Kansai International Airport, 1 Senshu-kuko
     Kita, Izumisano-shi, Osaka
                                                                            (Images Nos. 334 — 359)
5. Analytical results
     As shown in the sketches and documents attached hereto.
6. Symbols (codes) assigned to the suspect and the investigation subjects
     For the purpose of the sketches and documents attached hereto:
(1) suspect Carlos Ghosn Bichara (hereinafter referred to as "Ghosn") is assigned and
     indicated as code G;
(2) George Antoine Zayek (hereinafter referred to as "George") is assigned and indicated as
     code A;
(3) Michael L Taylor (hereinafter referred to as "Michael") is assigned and indicated as code
     B; and
(4) Peter Maxwell Taylor (hereinafter referred to as "Peter") is assigned and indicated as code
     C.
     These codes have been inserted, as appropriate, on the images contained in the documents
     to show the movements of the suspect and others.
(5) In unsharp images analyzed, the suspect and the investigation subjects were identified
     based on what was found out in other security camera images.
7. Measures
     To clarify the analytical results, attached to the end of this report are: (1) five sketches; and
     (2) a 90-page document in Excel file format containing 359 images, which are still images



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    extracted from relevant videos, trimmed, enlarged and/or otherwise adjusted, and
    accompanied by legends.
                                                                                 End




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